                                      No. 24-10561


             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


        GUARDIAN FLIGHT, L.L.C.; MED-TRANS CORPORATION,

                                                 Plaintiffs-Appellants,
                                           v.
                   HEALTH CARE SERVICE CORPORATION,

                                                 Defendant-Appellee.


                 On Appeal from the United States District Court
                       for the Northern District of Texas


        BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
            IN SUPPORT OF PLAINTIFFS-APPELLANTS


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                                    TABLE OF CONTENTS

                                                                                                        Page

INTRODUCTION AND INTEREST OF THE UNITED STATES.............. 1

STATEMENT OF THE ISSUES .................................................................. 2

STATEMENT OF THE CASE ..................................................................... 2

        A.      Statutory Background ................................................................. 2

        B.      Factual and Procedural Background ............................................ 6

SUMMARY OF ARGUMENT .................................................................... 6

ARGUMENT ............................................................................................... 7

I.      The district court erred in holding that IDR awards under the NSA
        are not judicially enforceable. ............................................................... 7

II.     Providers with assignments have standing to redress an insurer’s
        failure to pay benefits in accordance with ERISA’s surprise-billing
        provisions. ......................................................................................... 17

        A.      ERISA’s surprise-billing provisions modify benefits due
                under plan terms. ...................................................................... 18

        B.      A denial of plan benefits confers an injury-in-fact regardless
                of whether a participant suffers a pocketbook injury................... 22

CONCLUSION .......................................................................................... 29

CERTIFICATE OF SERVICE

CERTIFICATE OF COMPLIANCE

ADDENDUM
                                TABLE OF AUTHORITIES

Cases:                                                                                         Page(s)

Aetna Health Inc. v. Davila,
  542 U.S. 200 (2004) ................................................................................ 18

Alexander v. Sandoval,
  532 U.S. 275 (2001) .............................................................................9, 10

Amrhein v. eClinical Works, LLC,
 954 F.3d 328 (1st Cir. 2020) .................................................................... 24

Arana v. Ochsner Health Plan,
  338 F. 3d 433 (5th Cir. 2003) .................................................................... 19

Armstrong v. Exceptional Child Ctr., Inc.,
  575 U.S. 320 (2015) ................................................................................. 16

Bauer v. Summit Bancorp,
  325 F.3d 155 (3d Cir. 2003) ..................................................................... 18

Bowen v. Massachusetts,
  487 U.S. 879 (1988) ................................................................................. 16

Central Laborers’ Pension Fund v. Heinz,
  541 U.S. 739 (2004) ...................................................................... 18-19, 21

Cheminova A/S v. Griffin L.L.C.,
  182 F. Supp. 2d 68 (D.D.C. 2002) ........................................................... 15

CIGNA Corp. v. Amara,
  563 U.S. 421 (2011) ................................................................................ 26

Curtiss-Wright Corp. v. Schoonejongen,
  514 U.S. 73 (1995) .................................................................................. 26

Denning v. Bond Pharmacy, Inc.,
  50 F.4th 445 (5th Cir. 2022) .................................................................... 24


                                                    ii
DiCarlo v. St. Mary Hosp.,
  530 F.3d 255 (3d Cir. 2008) ..................................................................... 24

GPS of New Jersey M.D., P.C. v. Horizon Blue Cross & Blue Shield,
 No. 22-6614, 2023 WL 5815821 (D.N.J. Sept. 8, 2023) ............................ 14

Hall St. Assocs., LLC v. Mattel, Inc.,
 552 U.S. 576 (2008) ................................................................................ 12

Harrison v. Envision Mgmt. Holding, Inc.,
 59 F.4th 1090 (10th Cir. 2023) .................................................................. 13

HCA Health Servs. of Ga., Inc. v. Employers Health Ins. Co.,
 240 F.3d 982 (11th Cir. 2001) .................................................................. 26

Key Tronic Corp. v. United States,
  511 U.S. 809 (1994) .............................................................................10-11

Mitchell v. Blue Cross Blue Shield of N.D.,
 953 F.3d 529 (8th Cir. 2020) ............................................................... 25, 26

Montefiore Med. Ctr. v. Teamsters Local 272,
 642 F.3d 321 (2d Cir. 2011) ..................................................................... 27

N.R. ex rel. S.R. v. Raytheon Co.,
  24 F.4th 740 (1st Cir. 2022) ................................................................ 20, 22

Norfolk & W. Ry. Co. v. American Train Dispatchers Ass’n,
  499 U.S. 117 (1991) ................................................................................ 20

North Cypress Med. Ctr. Operating Co. v. Cigna Healthcare,
  781 F.3d 182 (5th Cir. 2015) ......................................................... 22, 24, 27

Open MRI & Imaging of RP Vestibular Diagnostics, P.A. v.
  Cigna Health & Life Ins. Co.,
  No. 20-cv-10345, 2022 WL 1567797 (D.N.J. May 18, 2022) ................20-21




                                                   iii
Plumb v. Fluid Pump Serv., Inc.,
  124 F.3d 849 (7th Cir. 1997) ................................................................19-20

Spinedex Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc.,
  770 F.3d 1282 (9th Cir. 2014) .................................................................. 26

Spokeo, Inc. v. Robins,
  578 U.S. 330 (2016) ................................................................................ 23

Springer v. Cleveland Clinic Emp. Health Plan Total Care,
  900 F.3d 284 (6th Cir. 2018) .................................................................... 26

Stokes v. Southwest Airlines,
  887 F.3d 199 (5th Cir. 2018) ...................................................................... 9

Tennessee Elec. Power Co. v. Tennessee Valley Auth.,
  306 U.S. 118 (1939) ................................................................................ 24

Thorpe Insulation Co., In re,
  677 F.3d 869 (9th Cir. 2012) .................................................................... 24

Transamerica Mortg. Advisors, Inc. v. Lewis,
  444 U.S. 11 (1979) .................................................................................. 16

United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus.
 & Serv. Workers Int’l Union v. Cookson Am., Inc.,
 710 F.3d 470 (2d Cir. 2013) ...................................................................... 26

UNUM Life Ins. Co. of Am. v. Ward,
 526 U.S. 358 (1999) ........................................................................... 19, 21

US Airways, Inc. v. McCutchen,
 569 U.S. 88 (2013) ............................................................................. 18, 26

Vermont Agency of Nat. Res. v. U.S. ex rel. Stevens,
  529 U.S. 765 (2000) ........................................................................... 22, 28




                                                   iv
Statutes:

No Surprises Act,
 Pub. L. No. 116-260, div. BB, tit. I, 134 Stat. 1182, 2758-2890 (2020) ......... 4

9 U.S.C. § 9 ................................................................................................ 12

9 U.S.C. § 10 .............................................................................................. 12

9 U.S.C. § 10(a) .......................................................................................... 12

9 U.S.C. § 10(a)(1) ...................................................................................... 15

9 U.S.C. § 10(a)(1)-(4) ................................................................................ 12

9 U.S.C. § 10(a)(3)-(4) ................................................................................ 14

9 U.S.C. § 11(a)-(c) ..................................................................................... 12

29 U.S.C. § 1001(b) ...................................................................................... 2

29 U.S.C. § 1104(a)(1)(D) ........................................................................... 18

29 U.S.C. § 1132 ....................................................................................... 1-2

29 U.S.C. § 1132(a)(1)(B) ...................................................................... 18, 20

29 U.S.C. § 1132(a)(5) ................................................................................ 13

29 U.S.C. § 1135 .......................................................................................... 2

29 U.S.C. § 1144(b)(2)(A) ........................................................................... 19

29 U.S.C. § 1185a ....................................................................................... 20

29 U.S.C. § 1185e ..................................................................................... 2, 4

29 U.S.C. § 1185f ..................................................................................... 2, 4

29 U.S.C. § 1185f(a)(3)(B) .......................................................................... 21

                                                       v
29 U.S.C. § 1185f(b)(6) .................................................................... 10, 21, 28

42 U.S.C. § 300gg-22(b)(2) .......................................................................... 13

42 U.S.C. § 300gg-111 et seq. .......................................................................... 4

42 U.S.C. § 300gg-111 ................................................................................... 5

42 U.S.C. § 300gg-111(a)(1) .......................................................................... 1

42 U.S.C. § 300gg-111(a)(1)(C)(ii)-(iii) .......................................................... 5

42 U.S.C. § 300gg-111(a)(1)(C)(iv)(II) ........................................................ 5, 9

42 U.S.C. § 300gg-111(a)(3)(H)(ii) ................................................................ 5

42 U.S.C. § 300gg-111(a)(3)(K) ..................................................................... 5

42 U.S.C. § 300gg-111(a)(3)(K)(ii)(II) ............................................................ 8

42 U.S.C. § 300gg-111(b)(1)(A)-(B) ............................................................... 5

42 U.S.C. § 300gg-111(b)(1)(D) ..................................................................... 9

42 U.S.C. § 300gg-111(c) .............................................................................. 5

42 U.S.C. § 300gg-111(c)(1)(B) ..................................................................... 5

42 U.S.C. § 300gg-111(c)(5)(E)(i)(I) ............................................... 5, 9, 11, 13

42 U.S.C. § 300gg-111(c)(5)(E)(i)(II) ............................................ 6, 11, 12, 15

42 U.S.C. § 300gg-111(c)(6) ............................................................... 6, 10, 21

42 U.S.C. § 300gg-112 .................................................................................. 5

42 U.S.C. § 300gg-112(a)(1)-(2) ..................................................................... 5

42 U.S.C. § 300gg-112(a)(3) .......................................................................... 5

                                                    vi
42 U.S.C. § 300gg-112(a)(3)(B) ................................................................9, 21

42 U.S.C. § 300gg-112(b)(1)(B) ..................................................................... 5

42 U.S.C. § 300gg-112(b)(5)(D) ..................................................................... 6

42 U.S.C. § 300gg-112(b)(6) ............................................................... 6, 10, 22

42 U.S.C. § 300gg-131 .................................................................................. 4

42 U.S.C. § 300gg-132 ............................................................................... 4-5

42 U.S.C. § 300gg-135 ............................................................................... 4-5

Regulations:

29 C.F.R. pt. 2590, subpart D ........................................................................ 2

45 C.F.R. § 150.301 .................................................................................... 13

Legislative Material:

H.R. Rep. No. 116-615, pt. 1 (2020)........................................................4, 5, 8

Other Authorities:

Requirements Related to Surprise Billing; Part I,
  86 Fed. Reg. 36,872 (July 13, 2021) ........................................................... 3

Restatement (First) of Contracts § 328 cmt. a (Am. Law Inst. 1932) ............. 24

2 Lee R. Russ & Thomas F. Segalla,
  Couch on Insurance 3d § 19:1 (1996) .................................................. 19, 20




                                                   vii
     INTRODUCTION AND INTEREST OF THE UNITED STATES

      The No Surprises Act (NSA) protects patients from potentially ruinous

surprise medical bills.1 To that end, the NSA created a mechanism—the

independent dispute resolution (IDR) process—for resolving payment disputes

between medical providers and insurers and for ensuring that providers receive

fair compensation for their services. The IDR process is integral to the NSA.

When the parties cannot agree on appropriate compensation, the IDR process

culminates in a payment determination reached through binding arbitration.

Yet, the district court held that a party to the IDR process cannot enforce an

IDR award. If there were no private means to enforce IDR awards, one of the

statute’s core features would be frustrated, upending Congress’s scheme.

      The U.S. Departments of Health and Human Services (HHS), Labor, and

the Treasury are jointly charged with implementing the NSA and the United

States accordingly has a strong interest in the stability and sustainability of the

IDR process. The Department of Labor also has a strong interest in enforcing

the provisions of Title I of the Employee Retirement Income Security Act of

1974 (ERISA) to ensure fair and impartial plan administration and compliance

by ERISA-governed health plans with ERISA’s requirements and purposes. 29



      1
       This brief uses the term “insurers” or “plans” to refer to “group health
plans” and “health insurance issuers.” See 42 U.S.C. § 300gg-111(a)(1).
U.S.C. §§ 1132, 1135. The NSA added surprise-billing provisions to ERISA, and

ERISA-plan terms must be implemented in accordance with ERISA’s

substantive standards, including those stemming from these provisions and the

Department of Labor’s implementing regulation. Id. §§ 1185e, 1185f; 29 C.F.R.

pt. 2590, subpart D. ERISA participants, beneficiaries, and assignees are entitled

to “ready access to the Federal courts.” 29 U.S.C. § 1001(b).

                       STATEMENT OF THE ISSUES

      1. Whether a party to an IDR proceeding can judicially enforce the

arbitrator’s payment determination; and

      2. Whether plaintiffs, who were assigned benefits by patients participating

in ERISA-governed health plans, have standing to assert a claim for wrongful

denial of benefits under ERISA for failing to pay benefits in accordance with an

IDR determination.2

                        STATEMENT OF THE CASE

      A.     Statutory Background

      1. Medical services are not provided under uniform pricing models, and

the amount a provider will charge for care to a given patient often depends on

whether the patient has health insurance and, if so, whether the provider has



      2
          The government expresses no view on plaintiffs’ unjust enrichment
claim.

                                        2
entered into a contract with the patient’s health plan agreeing to provide services

to the plan’s members at particular pre-negotiated rates.

      Most health plans have a network of providers who have contractually

agreed to accept pre-negotiated payment amounts for specific items or services.

See Requirements Related to Surprise Billing; Part I, 86 Fed. Reg. 36,872, 36,874

(July 13, 2021). Plans encourage their members to receive care from these “in-

network” providers, and when they do so, the patients’ financial obligations are

limited by the terms of their health plans. When, however, a patient receives

care from an out-of-network provider, the patient’s health plan may decline to

pay the provider or may pay an amount lower than the provider’s billed charges.

In that circumstance, the patient is responsible for the balance of the bill, and

because the rate charged was not pre-negotiated by the patient’s health plan, it

may cost immensely more than the item or service would have cost had the rate

been pre-negotiated.

      “A balance bill may come as a surprise for the individual.” 86 Fed. Reg.

at 36,874. Surprise billing may occur when a patient receives care from a

provider whom the patient could not have chosen in advance, or whom the

patient did not have reason to believe would be outside the network. For

example, a patient in an emergency situation will often be unable to choose

which emergency department she goes to or whether to receive care from an in-


                                        3
network provider even if the emergency department happens to be in-network.

Id. This situation arises frequently in connection with air ambulance providers,

as individuals generally do not have the ability to select an air ambulance

provider and consequently have little control over whether the provider is in-

network. See id.

      Under these circumstances, a patient with health insurance could receive

a surprise medical bill. See 86 Fed. Reg. at 36,874. As Congress recognized,

“[t]hese unexpected medical bills can result in financial ruin.” H.R. Rep. No.

116-615, pt. 1, at 52 (2020).

      2. Congress enacted the NSA to combat the crisis of surprise medical bills.

Pub. L. No. 116-260, div. BB, tit. I, 134 Stat. 1182, 2757-2890 (2020). The NSA

made parallel amendments to three statutes: the Public Health Service Act

(PHSA), see 42 U.S.C. § 300gg-111 et seq.; Part 7 of ERISA, which establishes

requirements for group health plans, i.e., employer-sponsored plans that provide

medical benefits to employees and their dependents, see 29 U.S.C. §§ 1185e,

1185f; and the Internal Revenue Code.3

      The NSA protects insured patients from unexpected liabilities by

prohibiting balance billing by certain types of providers. 42 U.S.C. §§ 300gg-131,


      3
          Unless otherwise noted, this brief cites to the NSA’s amendments to the
PHSA.


                                         4
132, 135. When applicable, the NSA caps a patient’s share of liability to an out-

of-network provider at an amount comparable to what the individual would

have owed had she received care from an in-network provider. See id. §§ 300gg-

111(a)(1)(C)(ii)-(iii), (3)(H)(ii), (b)(1)(A)-(B), 300gg-112(a)(1)-(2).

      In turn, the NSA also creates a process that allows the provider and insurer

to determine an out-of-network rate in the absence of an in-network contract. 42

U.S.C. §§ 300gg-111, 300gg-112. Under these provisions, insurers are required

to cover specified services furnished by non-participating providers, and “shall

pay” those providers the difference between the participant’s cost-sharing

obligation and the “out-of-network rate” for the service. Id. § 300gg-

111(a)(1)(C)(iv)(II), (b)(1)(D); id. § 300gg-112(a)(3); see id. § 300gg-111(a)(3)(K)

(defining “out-of-network rate”).

      If the insurer and provider are not able to agree on a payment amount,

either may initiate the IDR process. 42 U.S.C. §§ 300gg-111(c)(1)(B), 300gg-

112(b)(1)(B). The IDR process involves “baseball-style” arbitration, whereby the

decisionmaker (referred to as a “certified IDR entity” or “CIDRE”) selects one

of the parties’ proposed payment amounts. Id. § 300gg-111(c); see also H.R. Rep.

No. 116-615, pt. 1, at 56-57 (describing “the IDR process, also referred to as

arbitration”). The CIDRE’s determination “shall be binding upon the parties

involved,” 42 U.S.C. § 300gg-111(c)(5)(E)(i)(I), and “shall not be subject to


                                          5
judicial review, except in a case described in any of paragraphs (1) through (4)

of section 10(a) of title 9,” a section of the Federal Arbitration Act, id. § 300gg-

111(c)(5)(E)(i)(II). See also id. § 300gg-112(b)(5)(D) (incorporating these

provisions with respect to air ambulance IDR determinations). The insurer’s

share of the payment “shall be made directly to the nonparticipating provider or

facility not later than 30 days after the date on which such determination is

made.” Id. §§ 300gg-111(c)(6), 300gg-112(b)(6).

      B.    Factual and Procedural Background

      Plaintiffs are air ambulance providers that engaged in the IDR process

with defendant Health Care Service Corporation (HCSC), an insurance

company. ROA.103-104; Compl. at 1. Plaintiffs allege they obtained IDR

determinations that HCSC has refused to pay. Compl. at 4-5, Ex. A. The district

court held, as relevant here, that the NSA does not contain an express or implied

cause of action to enforce an IDR determination and that plaintiffs lacked

standing to pursue their ERISA claim. ROA.106-112.

                        SUMMARY OF ARGUMENT

      I. The IDR process would make little sense if the parties to a CIDRE’s

payment determination lacked a means for judicial enforcement. The NSA’s

text, structure, purpose, and history support judicial enforcement of the payment

determinations. Congress also modeled this statute’s dispute resolution process


                                         6
on binding arbitration between private parties—a proceeding where a central

principle is that a party may judicially enforce the award. No adequate

alternative means for enforcing an IDR award is apparent.

      II. The district court also erred in concluding that plaintiffs lacked

standing to assert claims for wrongful denial of benefits under ERISA section

502(a)(1)(B). The surprise-billing provisions added to ERISA by the NSA

directly modify the benefits provided by ERISA-governed health plans by

requiring that they cover out-of-network air ambulance services if covered in-

network, and that they pay the providers of those services in accordance with

IDR determinations. Because the NSA’s payment requirements are tantamount

to mandatory plan benefits, refusal to pay benefits in accordance with IDR

determinations is a wrongful denial of plan benefits that imparts an injury-in-

fact on plan participants, and, by extension, on plaintiffs suing based on

assignments of benefits. In any event, and apart from any injury to participants,

plaintiffs have also suffered an injury in their own right sufficient for Article III

standing based on defendant’s failure to make the statutorily required payments.

                                  ARGUMENT

I.    The district court erred in holding that IDR awards under the
      NSA are not judicially enforceable.

      The IDR provisions of the NSA would make little sense if there were no

mechanism for the parties to an IDR proceeding to enforce a CIDRE’s payment

                                         7
determination. The NSA combats ruinous surprise medical bills by capping a

patient’s financial obligations for certain covered services at an amount similar

to what the patient would have paid to an in-network provider. When Congress

extinguished the provider’s right to seek full compensation from the patient, it

created a new statutory right to compensation from the patient’s insurer through

a new statutory procedure. See H.R. Rep. No. 116-615, pt. 1, at 56 (“A key

element of any solution to address surprise billing comprehensively is the

payment rate, which is the amount that payers must remit to providers for out-

of-network items and services”). The amount of compensation is determined

through a rate established by state law (if applicable), negotiation between the

out-of-network provider and the patient’s insurer, or, if necessary, binding IDR

arbitration.

      Specifically, Congress established an “out-of-network rate” defined as, in

cases that proceed to an IDR determination, the rate selected by the CIDRE. 42

U.S.C. § 300gg-111(a)(3)(K)(ii)(II). Because the provider is now prohibited from

balance billing patients, the provider’s right to be promptly paid by the insurer

based on the amount awarded by the CIDRE is a core feature of the statute’s

design. And in the provisions that are key to this appeal, Congress specified that

a provider is owed a specific amount (as determined by the CIDRE’s “binding”

award), from a specific source (the insurer who participated in the IDR


                                        8
proceeding), by a specific deadline (within 30 days). See 42 U.S.C. §§ 300gg-

111(a)(1)(C)(iv)(II), (b)(1)(D), (c)(5)(E)(i)(I), (c)(6), 300gg-112(a)(3)(B), (b)(6).

      The district court held that IDR awards are not privately enforceable. But

the district court read the statute too narrowly and placed undue weight on the

absence of a specific statutory provision authorizing a provider to seek federal

judicial enforcement of a CIDRE’s award. With respect to whether the NSA

itself establishes a private right of action, the text, structure, purpose, and history

of the statute contain substantial “‘affirmative’ evidence of intent to allow

private civil suits.” Stokes v. Southwest Airlines, 887 F.3d 199, 202 (5th Cir. 2018)

(quoting Alexander v. Sandoval, 532 U.S. 275, 293 n.8 (2001)). Whether viewed

as a private right of action under the NSA or a cause of action inherent in federal

courts’ equitable authority in these circumstances, plaintiffs’ claim may proceed.

      A. Congress made clear that it intended for IDR awards to be judicially

enforceable. The awards “shall be binding upon the parties involved” (except in

enumerated     circumstances     not    at       issue   here).   42   U.S.C.   § 300gg-

111(c)(5)(E)(i)(I). The insurer “shall cover” the services, including by making

“payment directly to” the provider when a payment amount is determined

through IDR. Id. § 300gg-111(a)(1)(C)(iv)(II); see also id. § 300gg-111(b)(1)(D),

§ 300gg-112(a)(3)(B). And that direct payment from the insurer to the provider

“shall be made . . . not later than 30 days after” the CIDRE renders its decision,


                                             9
id. §§ 300gg-111(c)(6), 300gg-112(b)(6); 29 U.S.C. §1185f(b)(6). This language

creates a “right” in the provider to recover the amount of the CIDRE’s award.

See Sandoval, 532 U.S. at 288 (stressing the importance of “rights-creating

language” in determining whether a statute establishes a cause of action

(quotation marks omitted)). That “right” would mean little if a provider that is

not timely paid lacked a judicial remedy to enforce the CIDRE’s award. And,

unlike an action seeking monetary damages of an open-ended amount, plaintiffs

seek to recover a fixed amount that is specified by the NSA’s congressionally

mandated dispute-resolution procedure and under a statutory directive that

payment “shall be made directly to the nonparticipating provider or facility not

later than 30 days after the date on which such determination is made.” 42

U.S.C. §§ 300gg-111(c)(6), 300gg-112(b)(6); 29 U.S.C. § 1185f(b)(6). These

statutory features distinguish this case from circumstances where courts have

declined to recognize implied rights of action.

      The text, structure, and historical background of the NSA, which creates

in the provider a right to be paid a fixed sum, establish that the NSA confers a

right of action to enforce the insurer’s statutory obligation to pay. Indeed, the

Supreme Court in Key Tronic Corp. v. United States, 511 U.S. 809, 818 n.11 (1994),

accepted the proposition that “‘to say that A shall be liable to B is




                                       10
the express creation of a right of action.’” Id. at 818 n.11 (quoting id. at 822

(Scalia, J., dissenting)).

      The conclusion that IDR awards are judicially enforceable is reinforced

by the fact that the IDR process is modeled in significant part on binding

arbitration between private parties—a cornerstone of which is that the

arbitrator’s award is judicially enforceable. As in a binding arbitration, IDR

proceedings involve multiple “parties” (here, a provider and an insurer)

appearing before a neutral adjudicator who possesses the qualifications

necessary to resolve the dispute (here, the CIDRE). As in a binding arbitration,

Congress specified that the adjudicator’s determination “shall be binding upon

the parties involved,” except in specified circumstances involving fraud and the

like. 42 U.S.C. § 300gg-111(c)(5)(E)(i)(I). And as in a binding arbitration subject

to the Federal Arbitration Act (FAA), the merits of the adjudicator’s

determination “shall not be subject to judicial review, except in a case described

in any of paragraphs (1) through (4) of section 10(a) of title 9,” a part of the FAA

addressing limited circumstances in which awards can be vacated. Id. § 300gg-

111(c)(5)(E)(i)(II).

      While Congress did not incorporate the FAA in its entirety into the NSA,

the statute’s express reliance on the FAA’s provisions regarding judicial vacatur

of an arbitration award in limited circumstances suggests that Congress expected


                                        11
these determinations to be judicially enforceable in all other circumstances. A

review of the FAA sections surrounding Section 10(a) underscores this

common-sense conclusion. Under the FAA, an arbitration award could be

judicially modified in specified circumstances, see 9 U.S.C. § 11(a)-(c), or could

be judicially vacated for reasons specified in two subsections of 9 U.S.C. § 10:

§ 10(a) and § 10(c). If none of these criteria for modification or vacatur are

satisfied, a court “must” enter an order confirming the award. 9 U.S.C. § 9; see

Hall St. Assocs., LLC v. Mattel, Inc., 552 U.S. 576, 587 (2008) (recognizing that the

FAA “unequivocally tells courts to grant confirmation in all cases, except when

one of the ‘prescribed’ exceptions” enumerated in Sections 10 and 11 applies

(quoting 9 U.S.C. § 9)). Under the NSA, a CIDRE’s payment determination can

only be disturbed if it satisfies one of the criteria specified in 9 U.S.C. § 10(a). 42

U.S.C. § 300gg-111(c)(5)(E)(i)(II). To give meaningful effect to Congress’s

limitation on the circumstances in which an IDR award can be disturbed, it is

necessary to recognize that Congress intended parties to be able to seek judicial

enforcement.

      If judicial enforcement were unavailable, a party dissatisfied with the

result of an IDR proceeding could choose to avoid the need to demonstrate to a

court that any of the narrow grounds specified in 9 U.S.C. § 10(a)(1)-(4) applies

by simply ignoring the CIDRE’s award rather than treating it as a determination


                                          12
that is “binding upon the parties involved,” 42 U.S.C. § 300gg-111(c)(5)(E)(i)(I).

That is not a plausible understanding of Congress’s intent.

      The existence of a specific right in the provider to sue the insurer who fails

to fulfill its statutory obligation under the NSA would perhaps be unnecessary if

there were an adequate alternative means to ensure that insurers pay out-of-

network providers the money owed under the statute. But no such alternative is

apparent. While HHS might seek to impose civil monetary penalties if there

were substantiated complaints of insurers subject to its jurisdiction failing to

make timely payments of IDR determinations as required under the NSA, see 42

U.S.C. § 300gg-22(b)(2); 45 C.F.R. § 150.301, such enforcement would not

ensure that CIDRE decisions are binding on the parties. The imposition of civil

monetary penalties may indirectly encourage payment, but it would not be

comprehensive, and it would not necessarily result in the provider compensation

contemplated by Congress when it enacted the NSA. Similar shortcomings

would apply to other available means of government enforcement. See, e.g., 29

U.S.C. § 1132(a)(5) (recognizing an equitable cause of action for the Secretary

of Labor to enforce ERISA); Harrison v. Envision Mgmt. Holding, Inc., 59 F.4th

1090, 1112 (10th Cir. 2023) (“[I]t is unreasonable to assume that the DOL is

capable of policing every employer-sponsored benefit plan in the country.”).

And while ERISA furnishes a means for a provider to obtain compensation if


                                        13
the IDR award concerns an ERISA plan participant who has assigned his or her

benefits to the provider, see infra Part II, that is likewise not comprehensive in

multiple respects: the NSA applies to many non-ERISA plans, and relief under

ERISA would be tethered to the existence of an assignment of benefits from a

plan beneficiary. As explained below, the ERISA cause of action stems from

Congress’s judgment regarding a plan beneficiary’s rights; independent of that,

the NSA evinces Congress’s judgment that a party to an IDR proceeding may

seek an order compelling enforcement of a CIDRE’s award regardless of the

availability of a remedy under ERISA.

      The availability of such a private cause of action under the NSA was

confirmed in GPS of New Jersey M.D., P.C. v. Horizon Blue Cross & Blue Shield, No.

22-cv-6614, 2023 WL 5815821 (D.N.J. Sept. 8, 2023), a decision the district

court did not cite. There, a provider sought to vacate an IDR award under the

criteria specified in 9 U.S.C. § 10(a)(3)-(4), and the insurer filed a cross-motion

to enforce the IDR award. Id. at *1, *3. The district court rejected the provider’s

challenge, id. at *4-10, and enforced the IDR award, explaining that the NSA

“provides that any determination of the IDR entity is binding on the parties and

is only subject to judicial review under the circumstances described in Section

10(a) of the Federal Arbitration Act.” Id. at *10. The court correctly recognized

that the NSA “gives the court the authority” to enforce the award. Id. That


                                        14
conclusion also accords with the persuasive decision in Cheminova A/S v. Griffin

L.L.C., 182 F. Supp. 2d 68, 73-74 (D.D.C. 2002), which held that a party may

seek judicial enforcement of a final arbitration order issued under a different

statutory scheme.

      The district court believed that Congress “did not intend to confer

Plaintiffs a cause of action to enforce IDR awards” because the NSA provision

allowing for vacatur “includ[es] language almost entirely forbidding judicial

review of IDR decisions” and indicates that Congress “notably did not

incorporate the FAA provision that enables parties to confirm arbitration

awards.” ROA.108. The court drew precisely the wrong conclusion from that

provision. For the reasons already discussed, the proper conclusion to draw from

the limitations Congress placed on judicial review of IDR decisions is that

Congress intended that, absent such a vacatur through judicial review, the

parties would remain bound by the IDR award and that award would be

judicially enforceable. By restricting the circumstances in which an IDR decision

could be “subject to judicial review,” 42 U.S.C. § 300gg-111(c)(5)(E)(i)(II), the

NSA indicates that a party seeking to vacate or modify an award would be able

to do so only in especially narrow circumstances such as where the award was

procured by corruption or fraud. See 9 U.S.C. § 10(a)(1). Correspondingly,




                                       15
unless the award is disturbed based upon such review, there is judicial authority

to enter an order enforcing the award—without reviewing its merits.

      B. Moreover, equitable relief may be available in appropriate

circumstances to enforce a duty under federal law. See Armstrong v. Exceptional

Child Ctr., Inc., 575 U.S. 320 (2015). And plaintiffs may rely on that traditional

equitable remedy to require HCSC to comply with the statutory mandate under

the NSA to pay them. As the Supreme Court has explained, “[t]he fact that a

judicial remedy may require one party to pay money to another is not a sufficient

reason to characterize the relief as ‘money damages.’” Bowen v. Massachusetts,

487 U.S. 879, 893 (1988). A case is properly classified as an “equitable action

for specific relief” when the plaintiff seeks “the recovery of specific property or

monies” rather than “monetary compensation for an injury to his person,

property, or reputation.” Id. (quotation marks omitted). That is precisely the

nature of the relief plaintiffs seek here: an order directing HCSC to pay the

specific sum dictated by the NSA that the NSA requires HCSC to pay plaintiffs.

In these circumstances, plaintiffs may invoke the courts’ equitable jurisdiction

to pursue that relief. See Transamerica Mortg. Advisors, Inc. v. Lewis, 444 U.S. 11,

18-19 (1979) (holding that a statutory provision declaring certain contracts

“void” “fairly implies a right to specific and limited relief in federal court”—

there, an equitable right of rescission by the injured party to the contract).


                                        16
II.   Providers with assignments have standing to redress an insurer’s
      failure to pay benefits in accordance with ERISA’s surprise-
      billing provisions.

      To the extent that they are assignees of benefits under plans covered by

ERISA, plaintiffs are also entitled to enforce IDR awards through ERISA’s

cause of action for benefits due under a plan. The district court believed that

plaintiffs lack standing to assert such a claim because the ERISA-plan

participants the providers treated were not tangibly injured by defendant’s

alleged flouting of IDR awards. But those participants suffered a well-

recognized, albeit intangible, contractual injury: the wrongful denial of ERISA

plan benefits. As explained below, ERISA’s surprise-billing provisions modify

ERISA plan benefits by mandating coverage and payment requirements for

certain out-of-network services. Plan participants thus have a contractual right

to have the plan pay for this service. Violating these requirements is thus an

invasion of contractual rights that plans and participants bargained for. That

alone is sufficient to confer an injury-in-fact on plan participants, even in the

absence of tangible harm like the threat of a balance bill. And as assignees

standing in the shoes of plan participants, plaintiffs have standing to enforce that

right to have HCSC make these payments to them as redress for these

contractual injuries, in addition to their own independent injuries stemming

from their statutory right to be paid in accordance with IDR awards.


                                        17
      A.    ERISA’s surprise-billing provisions modify benefits due
            under plan terms.

      ERISA section 502(a)(1)(B) provides a plan participant or beneficiary a

cause of action “to recover benefits due to him under the terms of his plan.” 29

U.S.C. § 1132(a)(1)(B). “This provision is relatively straightforward. If a

participant or beneficiary believes that benefits promised to him under the terms

of the plan are not provided, he can bring suit seeking provision of those

benefits.” Aetna Health Inc. v. Davila, 542 U.S. 200, 210 (2004).

      But while “[t]he plan . . . is at the center of ERISA,” US Airways, Inc. v.

McCutchen, 569 U.S. 88, 101 (2013), the interpretation and construction of its

terms are not limited to the four corners of the plan itself. For one, ERISA

provides that plan fiduciaries must interpret and apply plan terms consistent

with ERISA’s substantive provisions. 29 U.S.C. § 1104(a)(1)(D) (plan fiduciaries

must apply the terms of the plan “insofar as such documents and instruments

are consistent with the provisions of” Title I of ERISA); see also Bauer v. Summit

Bancorp, 325 F.3d 155, 160 (3d Cir. 2003) (“We are required to enforce the Plan

as written unless we find a provision of ERISA that contains a contrary

directive.” (quotation marks omitted)).

      In addition, ERISA’s substantive provisions can themselves directly

modify plan benefits by supplying mandatory plan terms. See Central Laborers’

Pension Fund v. Heinz, 541 U.S. 739, 742, 750 (2004) (observing, in a suit “to

                                        18
recover . . . suspended benefits,” that ERISA’s prohibition on forfeitures

provides “a global directive that regulates the substantive content of pension

plans” and “adds a mandatory term to all retirement packages that a company

might offer”). This principle extends even to state insurance laws that are

“saved” from the scope of ERISA’s preemption provision. See 29 U.S.C.

§ 1144(b)(2)(A). For example, in UNUM Life Insurance Co. of America v. Ward, the

Supreme Court found that a saved state insurance law “effectively create[d] a

mandatory contract term that require[d] the insurer to prove prejudice before

enforcing a timeliness-of-claim provision,” and “supplied the relevant rule of

decision for this § 502(a) suit.” 526 U.S. 358, 374, 376-77 (1999) (quotation

marks omitted); cf. Arana v. Ochsner Health Plan, 338 F. 3d 433, 438–39 (5th Cir.

2003) (holding that a participant’s claim under a Louisiana anti-subrogation law

should be re-characterized as a section 502(a)(1)(B) claim “under the terms of

his ERISA plan” because the plan was required to be construed “in light of

Louisiana law[.]”). Indeed, “[i]t is fundamental insurance law that ‘[e]xisting

and valid statutory provisions enter into and form a part of all contracts of

insurance to which they are applicable, and, together with settled judicial

constructions thereof, become a part of the contract as much as if they were

actually incorporated therein.’” Plumb v. Fluid Pump Serv., Inc., 124 F.3d 849,

861 (7th Cir. 1997) (second alteration in original) (quoting 2 Lee R. Russ &


                                       19
Thomas F. Segalla, Couch on Insurance 3d § 19:1, at 19–2 to 19–4 (1996));

Norfolk & W. Ry. Co. v. American Train Dispatchers Ass’n, 499 U.S. 117, 130 (1991)

(“Laws which subsist at the time and place of the making of a contract, and

where it is to be performed, enter into and form a part of it, as fully as if they

had been expressly referred to or incorporated in its terms.” (quotation marks

omitted)).

      Two recent examples highlight these concepts. In N.R. ex rel. S.R. v.

Raytheon Co., 24 F.4th 740 (1st Cir. 2022), the First Circuit held that the plaintiff

properly stated a claim for benefits under section 502(a)(1)(B) where a plan term

allegedly violated ERISA’s mental health parity provisions, 29 U.S.C. § 1185a.

The court explained that plaintiff “properly pleads that the [challenged term] is

trumped by ERISA and is accordingly unenforceable.” N.R., 24 F.4th at 752. As

such, the participant could proceed with his claim for benefits “due to him under

the terms of his plan” in accordance with ERISA’s parity requirements. Id.

(quoting 29 U.S.C. § 1132(a)(1)(B)).

      The district court in Open MRI & Imaging of RP Vestibular Diagnostics, P.A.

v. Cigna Health & Life Insurance Co. similarly held that an ERISA plan included

statutorily mandated terms enforceable by a provider acting on an assignment.

No. 20-cv-10345, 2022 WL 1567797, at *3 (D.N.J. May 18, 2022). In holding

that the plaintiff stated a claim for benefits under ERISA section 502(a)(1)(B),


                                         20
the court reasoned that “Congress mandated that health insurance plans cover

COVID-19 testing, raising it to the status of a benefit of those plans.” Id. at *6.

And because “Congress also allows insureds to sue for benefits due to them,”

the court went on, “[i]t therefore stands to reason that an insured can sue under

ERISA when an insurer denies coverage.” Id.

      Similarly, because ERISA’s surprise-billing provisions mandate that plans

pay benefits to out-of-network air ambulance providers in accordance with IDR

determinations, that mandate is enforceable through a claim under section

502(a)(1)(B). The NSA, as codified in the PHSA and ERISA, explicitly requires

insurers to pay non-participating air ambulance providers “the amount by which

the out-of-network rate . . . for such services . . . exceeds the cost-sharing

amount” owed by the participant. 42 U.S.C. § 300gg-112(a)(3)(B); 29 U.S.C.

§ 1185f(a)(3)(B). The statute further requires that the payment “shall be made

directly to the nonparticipating provider or facility not later than 30 days after

the date on which such determination is made.” Id. §§ 300gg-111(c)(6), 300gg-

112(b)(6); 29 U.S.C. § 1185f(b)(6). These provisions thus impose “a global

directive that regulates the substantive content” of group health plans, Central

Laborers’ Pension Fund, 541 U.S. at 750, and “effectively create[] a mandatory

contract term”—i.e., to pay benefits in accordance with IDR awards, Ward, 526

U.S. at 374 (quotation marks omitted). A plan’s failure to do so would thus


                                        21
violate the plan (as modified by ERISA) and give rise to a wrongful denial of

benefits claim under section 502(a)(1)(B). Any plan terms to the contrary would

be “trumped by ERISA” and “unenforceable.” N.R., 24 F.4th at 752.

      B.     A denial of plan benefits confers an injury-in-fact
             regardless of whether a participant suffers a pocketbook
             injury.

      Plaintiffs in this case are not the traditional plaintiffs in a wrongful denial

of benefits claim under ERISA section 502(a)(1)(B), i.e., plan participants and

beneficiaries, but instead are providers that treated ERISA plan participants.

Because plaintiffs asserted their ERISA claims as assignees of participants’ rights

to plan benefits, the district court treated plaintiffs’ standing as derivative of the

participants’ standing. See North Cypress Med. Ctr. Operating Co. v. Cigna

Healthcare, 781 F.3d 182, 191 (5th Cir. 2015) (“It is well established that a

healthcare provider, though not a statutorily designated ERISA beneficiary,

may obtain standing to sue derivatively to enforce an ERISA plan beneficiary’s

claim.” (quotation marks omitted)); Vermont Agency of Nat. Res. v. U.S. ex rel.

Stevens, 529 U.S. 765, 773 (2000) (“[T]he assignee of a claim has standing to

assert the injury in fact suffered by the assignor.”). But the court erred in

concluding that plan participants—and by extension, plaintiffs—were not

injured when HCSC failed to pay benefits to plaintiffs in accordance with IDR

awards because (a) the providers are prohibited under the NSA from balance


                                         22
billing participants, and (b) participants have no obligation to pay the awards

themselves. ROA.111-112.

      “To establish injury in fact, a plaintiff must show that he or she suffered

‘an invasion of a legally protected interest’ that is ‘concrete and particularized’

and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, Inc. v. Robins,

578 U.S. 330, 339 (2016). While “tangible injuries are perhaps easier to

recognize . . . intangible injuries can nevertheless be concrete.” Id. at 340. “In

determining whether an intangible harm constitutes injury in fact, both history

and the judgment of Congress play important roles.” Id. Specifically, the

Supreme Court has deemed it “instructive to consider whether an alleged

intangible harm has a close relationship to a harm that has traditionally been

regarded as providing a basis for a lawsuit in English or American courts.” Id.

at 341.

      One such recognized harm is predicated on the violation of contract rights.

As Justice Thomas explained in his concurrence in Spokeo, “[h]istorically,

common-law courts possessed broad power to adjudicate suits involving the

alleged violation of private rights, even when plaintiffs alleged only the violation

of those rights and nothing more,” noting that “‘[p]rivate rights’ have

traditionally included . . . contract rights.” 578 U.S. at 344 (Thomas, J.,

concurring). On that basis, many courts have held that invasions of contractual


                                        23
rights impart a concrete injury for standing purposes without any additional

showing of tangible harm. See, e.g., Tennessee Elec. Power Co. v. Tennessee Valley

Auth., 306 U.S. 118, 137-38 (1939) (standing is available where “the right

invaded is a legal right . . . arising out of [a] contract”); Denning v. Bond Pharmacy,

Inc., 50 F.4th 445, 451 (5th Cir. 2022) (finding that “a breach of contract is a

sufficient injury for standing purposes”); Amrhein v. eClinical Works, LLC, 954

F.3d 328, 330-31 (1st Cir. 2020); In re Thorpe Insulation Co., 677 F.3d 869, 887

(9th Cir. 2012); DiCarlo v. St. Mary Hosp., 530 F.3d 255, 263 (3d Cir. 2008)

(similar); see also Restatement (First) of Contracts § 328 cmt. a (Am. Law Inst.

1932) (“A breach of contract always creates a right of action,” even when no

financial “harm was caused.” (emphasis omitted)).

      Based on these principles, this Court has held that ERISA plan

participants—as well as providers acting on assignments—have standing to

redress a denial of benefits even where participants face no threat of being

balance billed. In North Cypress Med. Ctr., the district court (like the court here)

had held that the provider-assignee lacked standing because it did not balance

bill patients for charges their ERISA plans refused to pay. See North Cypress Med.

Ctr., 781 F.3d at 190. This Court reversed, finding that the plan’s failure to

“fulfill its contractual obligations . . . is all that is required to demonstrate Article




                                           24
III standing,” as the failure to pay benefits promised under the plan “denies the

patient the benefit of her bargain.” Id. at 193 (quotation marks omitted).

      The Eighth Circuit held the same in Mitchell v. Blue Cross Blue Shield of North

Dakota, 953 F.3d 529 (8th Cir. 2020). There, a plan participant and her husband

entered into an agreement with an air ambulance provider, whereby the

participant agreed to sue Blue Cross to recover denied benefits but faced no

liability to the provider if the litigation was unsuccessful. Mitchell, 953 F.3d at

533-34. Even though plaintiffs had not made a payment to the provider, were

not balance billed by the provider, and were not even at risk of being balance

billed, the Eighth Circuit found that they nonetheless had standing: “a party to

a breached contract has a judicially cognizable injury for standing purposes

because the other party’s breach devalues the services for which the plaintiff

contracted and deprives them of the benefit of their bargain.” Id. at 536

(quotation marks omitted). The court explained that “history and the judgment

of Congress both indicate that the denial of plan benefits constitutes a cognizable

injury in fact for purposes of constitutional standing” and that “plan participants

are injured not only when an underpaid healthcare provider charges them for




                                        25
the balance of a bill; they are also injured when a plan administrator fails to pay

a healthcare provider in accordance with the terms of their benefits plan.” Id.4

      So too here. HCSC’s failure to pay benefits in accordance with IDR

awards injured ERISA plan participants by depriving them of their contractual

right to benefits. ERISA plans are essentially written “contracts” that govern the

benefits that ERISA plan sponsors (typically employers) offer employees in

exchange for their labor. See CIGNA Corp. v. Amara, 563 U.S. 421, 440 (2011).

Indeed, ERISA’s “scheme . . . is built around reliance on the face of written plan

documents,” Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 73, 83 (1995), and

ERISA’s “principal function[ is] to ‘protect [those] contractually defined

benefits,’” US Airways, 569 U.S. at 100. And as explained above, ERISA plan

benefits are defined not just by what is contractually provided in written plan




      4
        See also Spinedex Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc.,
770 F.3d 1282, 1289-91 (9th Cir. 2014) (concluding that the provider plaintiffs
acting on assignments had Article III standing because the participants “had the
legal right to seek payment” pursuant to their plan terms, regardless of whether
or not they had been billed); Springer v. Cleveland Clinic Emp. Health Plan Total
Care, 900 F.3d 284, 287 (6th Cir. 2018) (explaining that a plan participant
“suffered an injury within the meaning of Article III because he was denied
health benefits he was allegedly owed under the plan,” and “[l]ike any private
contract claim, his injury does not depend on allegation of financial loss”); accord
HCA Health Servs. of Ga., Inc. v. Employers Health Ins. Co., 240 F.3d 982, 991 (11th
Cir. 2001); United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.
Workers Int’l Union v. Cookson Am., Inc., 710 F.3d 470, 474-75 (2d Cir. 2013) (per
curiam).

                                          26
documents, but also by State and federal laws that impose mandated benefits

and other requirements.

      ERISA’s surprise-billing provisions impose such a mandate, as they

effectively modify group health plans to require that they pay benefits in

accordance with IDR awards. Participants who receive services from air

ambulance providers are assured that their plan will compensate those providers

based on IDR awards (where the IDR process is invoked), with participants’

liability capped at the applicable cost sharing. The requirement that plans pay

providers in accordance with IDR awards is thus a benefit to the participant, no

different than a plan’s payment arrangement with in-network providers. Cf.

Montefiore Med. Ctr. v. Teamsters Local 272, 642 F.3d 321, 329-30 (2d Cir. 2011)

(explaining that “[t]he difference between [a participant] receiving ‘health care

at no cost’ and receiving direct reimbursement of one’s costs is largely one of

form, rather than of substance”). It follows, then, that a plan’s failure to pay

benefits in accordance with an IDR award is a wrongful denial of plan benefits.

This contractual injury alone provides a basis for Article III standing to plan

participants and any assignee acting in their stead, regardless of whether

participants suffer any tangible harm. North Cypress Med. Ctr., 781 F.3d at 193.

      In addition, the district court failed to consider plaintiffs’ own injuries,

apart from the injuries they may assert as assignees of plan participants. Plaintiffs


                                         27
themselves have a legally cognizable interest in the IDR-based payments that

HCSC is required by statute to make and yet has allegedly refused to pay. See 29

U.S.C. § 1185f(b)(6); cf. Vermont Agency, 529 U.S. at 773 (“Congress can[] define

new legal rights, which in turn will confer standing to vindicate an injury caused

to the claimant.”). This direct injury independently supports plaintiffs’ standing

to sue under ERISA section 502(a)(1)(B) separate from any injury incurred by

plan participants. See Vermont Agency, 529 U.S. at 772 (explaining that a legally

protected interest for standing purposes is one that “consist[s] of obtaining

compensation for, or preventing, the violation of a legally protected right”)

(citations omitted).




                                       28
                                 CONCLUSION

      For the foregoing reasons, the district court’s order dismissing counts one

and two of plaintiffs’ complaint should be reversed.

                                              Respectfully submitted,

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OCTOBER 2024




                                         29
                        CERTIFICATE OF SERVICE

      I hereby certify that on October 4, 2024, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the appellate CM/ECF system.




                                             s/ Kevin B. Soter
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                    CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rules of

Appellate Procedure 29(a)(5) and 32(a)(7)(B) because it contains 6,419 words.

This brief also complies with the typeface and type-style requirements of Federal

Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared using Word

for Microsoft 365 in Calisto MT 14-point font, a proportionally spaced typeface.



                                            s/ Kevin B. Soter
                                           Kevin B. Soter
ADDENDUM
                                     TABLE OF CONTENTS

42 U.S.C. § 300gg-111 (exceprts) ................................................................ A1

42 U.S.C. § 300gg-112 (excerpts) ................................................................ A4

29 U.S.C. § 1132(a)(1)(B) ........................................................................... A6

9 U.S.C. § 10 .............................................................................................. A7
42 U.S.C. § 300gg-111
§ 300gg-111. Preventing surprise medical bills
(a) Coverage of emergency services
   (1) In general
   If a group health plan, or a health insurance issuer offering group or
   individual health insurance coverage, provides or covers any benefits with
   respect to services in an emergency department of a hospital or with respect
   to emergency services in an independent freestanding emergency department
   (as defined in paragraph (3)(D)), the plan or issuer shall cover emergency
   services (as defined in paragraph (3)(C))-
         ...
         (C) in a manner so that, if such services are provided to a participant,
         beneficiary, or enrollee by a nonparticipating provider or a
         nonparticipating emergency facility-
               ...
               (iv) the group health plan or health insurance issuer, respectively-
                  (I) not later than 30 calendar days after the bill for such services
                  is transmitted by such provider or facility, sends to the provider
                  or facility, as applicable, an initial payment or notice of denial of
                  payment; and
                  (II) pays a total plan or coverage payment directly to such
                  provider or facility, respectively (in accordance, if applicable,
                  with the timing requirement described in subsection (c)(6)) that
                  is, with application of any initial payment under subclause (I),
                  equal to the amount by which the out-of-network rate (as defined
                  in paragraph (3)(K)) for such services exceeds the cost-sharing
                  amount for such services (as determined in accordance with
                  clauses (ii) and (iii)) and year;
   ...
   (3) Definitions
   ...
     (K) Out-of-network rate




                                           A1
        The term “out-of-network rate” means, with respect to an item or service
        furnished in a State during a year to a participant, beneficiary, or enrollee
        of a group health plan or group or individual health insurance coverage
        offered by a health insurance issuer receiving such item or service from a
        nonparticipating provider or nonparticipating emergency facility-
        ...
               (ii) subject to clause (iii), in the case such State does not have in effect
               such a law with respect to such item or service, plan, and provider or
               facility-
               ...
                     (II) if such provider or facility (as applicable) and such plan or
                     coverage enter the independent dispute resolution process under
                     subsection (c) and do not so agree before the date on which a
                     certified IDR entity (as defined in paragraph (4) of such
                     subsection) makes a determination with respect to such item or
                     service under such subsection, the amount of such determination
...
(b) Coverage of non-emergency services performed by nonparticipating
providers at certain participating facilities
      (1) In general
      In the case of items or services (other than emergency services to which
      subsection (a) applies) for which any benefits are provided or covered by a
      group health plan or health insurance issuer offering group or individual
      health insurance coverage furnished to a participant, beneficiary, or enrollee
      of such plan or coverage by a nonparticipating provider (as defined in
      subsection (a)(3)(G)(i)) (and who, with respect to such items and services,
      has not satisfied the notice and consent criteria of section 300gg–132(d) of
      this title) with respect to a visit (as defined by the Secretary in accordance
      with paragraph (2)(B)) at a participating health care facility (as defined in
      paragraph (2)(A)), with respect to such plan or coverage, respectively, the
      plan or coverage, respectively-
         ...
         (D) shall pay a total plan or coverage payment directly, in accordance, if
         applicable, with the timing requirement described in subsection (c)(6), to
         such provider furnishing such items and services to such participant,


                                             A2
            beneficiary, or enrollee that is, with application of any initial payment
            under subparagraph (C), equal to the amount by which the out-of-
            network rate (as defined in subsection (a)(3)(K)) for such items and
            services involved exceeds the cost-sharing amount imposed under the
            plan or coverage, respectively, for such items and services (as determined
            in accordance with subparagraphs (A) and (B)) and year;
...
(c) Determination of out-of-network rates to be paid by health plans;
independent dispute resolution process
...
      (5) Payment determination
      ...
        (E) Effects of determination
               (i) In general
               A determination of a certified IDR entity under subparagraph (A)-
                     (I) shall be binding upon the parties involved, in the absence of a
                     fraudulent claim or evidence of misrepresentation of facts
                     presented to the IDR entity involved regarding such claim; and
                     (II) shall not be subject to judicial review, except in a case
                     described in any of paragraphs (1) through (4) of section 10(a) of
                     title 9.
               ...
      (6) Timing of payment
      The total plan or coverage payment required pursuant to subsection (a)(1) or
      (b)(1), with respect to a qualified IDR item or service for which a
      determination is made under paragraph (5)(A) or with respect to an item or
      service for which a payment amount is determined under open negotiations
      under paragraph (1), shall be made directly to the nonparticipating provider
      or facility not later than 30 days after the date on which such determination
      is made.
...




                                             A3
42 U.S.C. § 300gg-112
§ 300gg-112. Ending surprise air ambulance bills
(a) In general
In the case of a participant, beneficiary, or enrollee who is in a group health plan
or group or individual health insurance coverage offered by a health insurance
issuer and who receives air ambulance services from a nonparticipating provider
(as defined in section 300gg–111(a)(3)(G) of this title) with respect to such plan
or coverage, if such services would be covered if provided by a participating
provider (as defined in such section) with respect to such plan or coverage-
...
      (3) the group health plan or health insurance issuer, respectively, shall-
        (A) not later than 30 calendar days after the bill for such services is
        transmitted by such provider, send to the provider, an initial payment or
        notice of denial of payment; and
        (B) pay a total plan or coverage payment, in accordance with, if
        applicable, subsection (b)(6), directly to such provider furnishing such
        services to such participant, beneficiary, or enrollee that is, with
        application of any initial payment under subparagraph (A), equal to the
        amount by which the out-of-network rate (as defined in section 300gg–
        111(a)(3)(K) of this title) for such services and year involved exceeds the
        cost-sharing amount imposed under the plan or coverage, respectively, for
        such services (as determined in accordance with paragraphs (1) and (2)).


(b) Determination of out-of-network rates to be paid by health plans;
independent dispute resolution process
...
      (5) Payment determination
      ...
        (D) Effects of determination
        The provisions of section 300gg–111(c)(5)(E) of this title shall apply with
        respect to a determination of a certified IDR entity under subparagraph
        (A), the notification submitted with respect to such determination, the
        services with respect to such notification, and the parties to such


                                          A4
        notification in the same manner as such provisions apply with respect to
        a determination of a certified IDR entity under section 300gg–111(c)(5)(E)
        of this title, the notification submitted with respect to such determination,
        the items and services with respect to such notification, and the parties to
        such notification.
        ...
      (6) Timing of payment
      The total plan or coverage payment required pursuant to subsection (a)(3),
      with respect to qualified IDR air ambulance services for which a
      determination is made under paragraph (5)(A) or with respect to an air
      ambulance service for which a payment amount is determined under open
      negotiations under paragraph (1), shall be made directly to the
      nonparticipating provider not later than 30 days after the date on which such
      determination is made.
...




                                         A5
29 U.S.C. § 1132
§ 1132. Civil enforcement.
(a) Persons empowered to bring a civil action
      A civil action may be brought-
        (1) by a participant or beneficiary-
             ...
             (B) to recover benefits due to him under the terms of his plan, to
             enforce his rights under the terms of the plan, or to clarify his rights
             to future benefits under the terms of the plan;
...




                                         A6
9 U.S.C. § 10
§ 10. Same; vacation; grounds; rehearing
(a) In any of the following cases the United States court in and for the district
wherein the award was made may make an order vacating the award upon the
application of any party to the arbitration—
   (1) where the award was procured by corruption, fraud, or undue means;
   (2) where there was evident partiality or corruption in the arbitrators, or
   either of them;
   (3) where the arbitrators were guilty of misconduct in refusing to postpone
   the hearing, upon sufficient cause shown, or in refusing to hear evidence
   pertinent and material to the controversy; or of any other misbehavior by
   which the rights of any party have been prejudiced; or
   (4) where the arbitrators exceeded their powers, or so imperfectly executed
   them that a mutual, final, and definite award upon the subject matter
   submitted was not made.
(b) If an award is vacated and the time within which the agreement required the
award to be made has not expired, the court may, in its discretion, direct a
rehearing by the arbitrators.
(c) The United States district court for the district wherein an award was made
that was issued pursuant to section 580 of title 5 may make an order vacating
the award upon the application of a person, other than a party to the arbitration,
who is adversely affected or aggrieved by the award, if the use of arbitration or
the award is clearly inconsistent with the factors set forth in section 572 of title
5.




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